      5:20-cv-03625-KDW             Date Filed 10/27/21   Entry Number 29        Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION

DARREN GLENN BARNHART,                         )      No. 5:20-cv-03625-KDW
                                               )
                       Plaintiff,              )
                                               )
               v.                              )
                                               )
KILOLO KIJAKAZI,                               )
Acting Commissioner of the                     )
Social Security Administration,                )
                                               )
                       Defendant.              )

                                              ORDER

       This matter is before the court on Plaintiff’s Motion for Attorney Fees and Expenses under

the Equal Access to Justice Act (“EAJA”), in the amount of Four Thousand, Four Hundred, Four

Dollars and 63/100 Cents ($4,404.63) and expenses in the amount of Sixteen Dollars and 00/100

Cents ($16.00) under 28 U.S.C. § 2412(a), (d) of the EAJA. ECF No. 26. In the Acting

Commissioner’s Response she indicates she does not object to the requested amount of EAJA

attorney fees and expenses sought, ECF No. 27. Plaintiff’s Motion is granted in accordance with

the terms of this order.

       It is hereby, ORDERED that Plaintiff, Darren Glen Barnhart, is awarded attorney fees in

the amount of Four Thousand, Four Hundred, Four Dollars and 63/100 Cents ($4,404.63) and

expenses in the amount of Sixteen Dollars and 00/100 Cents ($16.00) under 28 U.S.C. § 2412(a).

These attorney fees will be paid directly to Plaintiff, Darren Glenn Barnhart, and sent to the

business address of Plaintiff’s counsel. Full or partial remittance of the awarded attorney fees will

be contingent upon a determination by the Government that Plaintiff owes no qualifying, pre-

existing debt(s) to the Government. If such a debt(s) exists, the Government will reduce the

awarded attorney fees in this Order to the extent necessary to satisfy such debt(s).
     5:20-cv-03625-KDW     Date Filed 10/27/21   Entry Number 29     Page 2 of 2




       IT IS SO ORDERED.




October 27, 2021                                   Kaymani D. West
Florence, South Carolina                           United States Magistrate Judge
